Case 2:22-cv-07541-GW-MRW Document 1 Filed 02/08/21 Page 1 of 40 Page ID #:1




                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF TEXAS
                                MARSHALL DIVISION
 STINGRAY IP SOLUTIONS, LLC,                          §
                                                      §
        Plaintiff,                                    §
                                                      §
 v.                                                   §   JURY TRIAL DEMANDED
                                                      §
 TP-LINK TECHNOLOGIES CO., LTD.,                      §
 TP-LINK CORPORATION LIMITED,                         §   CIVIL ACTION NO. 2:21-cv-45
 and                                                  §
 TP LINK INTERNATIONAL LTD.,                          §
                                                      §
         Defendants.                                  §
                                                      §
                                                      §


       PLAINTIFF’S ORIGINAL COMPLAINT FOR PATENT INFRINGEMENT

       Plaintiff Stingray IP Solutions, LLC (“Stingray” or “Plaintiff”) files this Complaint against

Defendants TP-Link Technologies Co., Ltd., TP-Link Corporation Limited, and TP-Link

International Ltd. for infringement of U.S. Patent No. 6,958,986 (the “’986 patent”), U.S. Patent

No. 6,961,310 (the “’310 patent”), and U.S. Patent No. 7,027,426 (the “’426 patent”), which are

collectively referred to as the “Asserted Patents.”

                                         THE PARTIES

       1.    Stingray IP Solutions, LLC is a Texas limited liability company, located at 6136

Frisco Sq. Blvd., Suite 400, Frisco, TX 75034.

       2.    Upon information and belief, Defendant TP-Link Technologies Co., Ltd. (“TP-Link

Tech.”) is a multi-national private limited company organized under the laws of the People’s

Republic of China (“PRC” or “China”), with its principal place of business located at South

Building 5 Keyuan Road, Central Zone Science & Technology Park, Nanshan, Shenzhen, PRC,

Postcode: 518057.

PLAINTIFF’S ORIGINAL COMPLAINT FOR
PATENT INFRINGEMENT                              1
Case 2:22-cv-07541-GW-MRW Document 1 Filed 02/08/21 Page 2 of 40 Page ID #:2




       3.    Upon information and belief, Defendant TP-Link Corporation Limited (“TP-Link

Corp.”) is a private limited company organized under the laws of Hong Kong, China, with its

principal place of business located at Suite 901, New East Ocean Centre, Tsim Sha Tsui, Hong

Kong, China. TP-Link Corp. is at least a related entity of TP-Link Tech. (e.g., having a direct or

indirect subsidiary-parent or sister company relationship).

       4.    Upon information and belief, Defendant TP-Link International Ltd. (“TP-Link Intl”)

is a private limited company organized under the laws of Hong Kong, with its principal place of

business located at Room 901-902,9/F, New East Ocean Centre, 9 Science Museum Road, Tsim

Sha Tsui, Kwun Tong, KL, Hong Kong, China, 518057. TP-Link Intl and TP-Link Corp. share the

same corporate office in Hong Kong. TP-Link Intl is at least a related entity of TP-Link Tech. and

TP-Link Corp. (e.g., having a direct or indirect subsidiary-parent or sister company relationship).

TP-Link Corp., TP-Link Tech., and TP-Link Intl are collectively referred to as “TP-Link” or

“Defendants.”

       5.    TP-Link was founded in 1996 and is “a global provider of reliable networking devices

and accessories, involved in all aspects of everyday life.” About TP-Link, TP-LINK, https://www.tp-

link.com/us/about-us/corporate-profile/. Moreover, “as the connected lifestyle continues to evolve,

the company is expanding today to exceed the demands of tomorrow.” Id. On its global website,

TP-Link states that it “is consistently ranked by analyst firm IDC as the No. 1 provider of Wi-Fi

devices[], supplying distribution to more than 170 countries and serving billions of people

worldwide.” About TP-Link, TP-LINK, https://www.tp-link.com/en/about-us/corporate-profile/.

       6.    Upon information and belief, Defendants are engaged in research and development,

manufacturing, importation, distribution, sales, and related technical services for home and

business networking, Internet of Things (“IoT”), and smart home products and components


PLAINTIFF’S ORIGINAL COMPLAINT FOR
PATENT INFRINGEMENT                              2
Case 2:22-cv-07541-GW-MRW Document 1 Filed 02/08/21 Page 3 of 40 Page ID #:3




(referred to collectively as the “TP-Link Products”). The TP-Link Products include WiFi, Mesh

WiFi, and ZigBee networking devices, routers, network expansion devices, network switches,

adapters, security cameras, smart plugs, smart lighting, smart switches, and related accessories and

services. These TP-Link Products are manufactured outside the U.S. and then imported into the

United States, distributed, and sold to end-users via the internet and in brick and mortar stores in

the U.S., in Texas and the Eastern District of Texas.

       7.    Upon information and belief, TP-Link maintains a corporate presence in the United

States, including in this judicial district, via at least its wholly-owned U.S.-based subsidiary or

related entity TP-Link USA Corporation (“TP-Link USA”), which is a California corporation with

its principal office located at 145 South State College Boulevard, Suite 200 Brea, CA 92821 and/or

10 Mauchly, Irvine, California 92618. On behalf and for the benefit of Defendants, TP-Link USA

coordinates the importation, distribution, marketing, offers for sale, sale, and use of the TP-Link

Products in the U.S. For example, TP-Link maintains distribution channels in the U.S. for TP-Link

Products via online stores, distribution partners, retailers, reseller partners, solution partners, and

other related service providers. See Where to Buy,            TP-LINK,   https://www.tp-link.com/us/

(accessible via drop down menu “Where to Buy”); see also Service Providers,                   TP-LINK,

https://service-provider.tp-link.com/. The TP-Link Products are offered and sold in the U.S. under

at least Defendants’ “TP-Link®” “deco,” and “Kasa®” brands. See, e.g., Products, KASA SMART,

https://www.kasasmart.com/us/products/smart-plugs.

       8.    TP-Link also recruits “TP-Link Brand Ambassadors” via a “Power User” program;

these Brand Ambassadors are consumers and users of TP-Link Products that are recruited in the

U.S. based on their social media presence and amount of use of TP-Link Products. See TP-Link

Brand Ambassador Program,         TP-LINK,   https://www.tp-link.com/us/brandambassador/. These


PLAINTIFF’S ORIGINAL COMPLAINT FOR
PATENT INFRINGEMENT                               3
Case 2:22-cv-07541-GW-MRW Document 1 Filed 02/08/21 Page 4 of 40 Page ID #:4




brand ambassadors (also known as “influencers”) are compensated for promoting TP-Link

Products on social media and participating in marketing campaigns to raise awareness of TP-Link

Products and their respective brands, which, ultimately, increases sales.

        9.    As a result, via at least TP-Link’s established distribution channels operated and

maintained by TP-Link USA in concert with Defendants TP-Link Tech., TP-Link Corp., and TP-

Link Intl, TP-Link Products are distributed, sold, advertised, and used nationwide, including being

sold to consumers via retail stores operating in Texas and this judicial district. Thus, Defendants

do business in the U.S., the state of Texas, and in the Eastern District of Texas.

                                  JURISDICTION AND VENUE

        10.   This action arises under the patent laws of the United States, namely 35 U.S.C. §§

271, 281, and 284-285, among others.

        11.   This Court has subject matter jurisdiction pursuant to 28 U.S.C. §§ 1331 and

1338(a).

                                            TP-Link Tech.
        12.   Upon information and belief, TP-Link Tech. is subject to this Court’s specific and

general personal jurisdiction pursuant to due process and/or the Texas Long Arm Statute, due at

least to its substantial business in this State and judicial district, including: (A) at least part of its

infringing activities alleged herein which purposefully avail the Defendant of the privilege of

conducting those activities in this state and this judicial district and, thus, submits itself to the

jurisdiction of this court; and (B) regularly doing or soliciting business, engaging in other

persistent conduct targeting residents of Texas and this judicial district, and/or deriving substantial

revenue from infringing goods offered for sale, sold, and imported and services provided to and

targeting Texas residents and residents of this judicial district vicariously through and/or in concert

with its alter egos, intermediaries, agents, distributors, importers, customers, subsidiaries, and/or

PLAINTIFF’S ORIGINAL COMPLAINT FOR
PATENT INFRINGEMENT                                 4
Case 2:22-cv-07541-GW-MRW Document 1 Filed 02/08/21 Page 5 of 40 Page ID #:5




consumers. For example, TP-Link Tech. is related to, owns, and/or controls subsidiaries (such as

TP-Link USA) and business sectors (such as its Kasa Smart business) that have a significant

business presence in the U.S. and in Texas. See Where to Buy,                TP-LINK,   https://www.tp-

link.com/us/ (identifying established channels of distribution via online stores, distribution

partners, retailers, reseller partners, solution partners, and other related service providers). Such a

presence furthers the development, design, manufacture, importation, distribution, sale, and use

(including by inducement) of infringing TP-Link Products in Texas, including in this judicial

district. For example, TP-Link Tech. is also the applicant for FCC registrations for the sale and

use of TP-Link Products in the U.S., including being identified on labels as the manufacturing

party.    See,    e.g.,   Label      Location,   FCCID.IO,       available     for      download    via

https://fccid.io/TE7HC4V2/Label/3-Label-and-location-4876532.pdf (providing a copy of the

label for TP-Link model no. AC1200 Whole Home Mesh Wi-Fi Unit).

         13.   This Court has personal jurisdiction over TP-Link Tech., directly and/or through the

activities of TP-Link Tech.’s intermediaries, agents, related entities, distributors, importers,

customers, subsidiaries, and/or consumers, including through the activities of Defendant TP-Link

Corp., TP-Link Intl, and TP-Link USA. Through direction and control of these entities, TP-Link

Tech. has committed acts of direct and/or indirect patent infringement within Texas, and elsewhere

within the United States, giving rise to this action and/or has established minimum contacts with

Texas such that personal jurisdiction over TP-Link Tech. would not offend traditional notions of

fair play and substantial justice.

         14.   Upon information and belief, TP-Link Tech. controls or otherwise directs and

authorizes all activities of its subsidiaries and related entities, including, but not limited to

Defendant TP-Link Corp., TP-Link Intl, and U.S.-based TP-Link USA. Directly via its agents in


PLAINTIFF’S ORIGINAL COMPLAINT FOR
PATENT INFRINGEMENT                               5
Case 2:22-cv-07541-GW-MRW Document 1 Filed 02/08/21 Page 6 of 40 Page ID #:6




the U.S. and via at least distribution partners, retailers (including national retailers), reseller

partners, solution partners, brand ambassadors, and other service providers, TP-Link Tech. has

placed and continues to place infringing TP-Link Products into the U.S. stream of commerce. For

example, import records show that TP-Link Tech. delivers TP-Link Products to TP-Link USA in

the U.S. See, e.g., Supply Chain Intelligence about: Tp Link Technologies Co. Ltd., PANJIVA,

https://panjiva.com/Tp-Link-Technologies-Co-Ltd/27804596 (showing at least two shipments to

“TP Link USA Corporation” in January of 2021 consisting of, for example, “Kasa smart bulb” and

other networking products). TP-Link Tech. has placed such products into the stream of commerce

with the knowledge and understanding that such products are, will be, and continue to be sold,

offered for sale, and/or imported into this judicial district and the State of Texas. See Litecubes,

LLC v. Northern Light Products, Inc., 523 F.3d 1353, 1369-70 (Fed. Cir. 2008) (“[T]he sale [for

purposes of § 271] occurred at the location of the buyer.”); see also Semcon IP Inc. v. Kyocera

Corporation, No. 2:18-cv-00197-JRG, 2019 WL 1979930, at *3 (E.D. Tex. May 3, 2019) (denying

accused infringer’s motion to dismiss because plaintiff sufficiently plead that purchases of

infringing products outside of the United States for importation into and sales to end users in the

U.S. may constitute an offer to sell under § 271(a)).

         15.   TP-Link Tech. utilizes established distribution channels to distribute, market, offer

for sale, sell, service, and warrant infringing products directly to consumers and other users,

including providing links to via its own website to online stores, retailers, resellers, distributors,

and solution partners offering such products and related services for sale. See Where to Buy, TP-

LINK,   https://www.tp-link.com/us/. Such TP-Link Products and services have been sold in retail

stores, both brick and mortar and online, within this judicial district and in Texas, including well-

known and widely used retailers Amazon.com, HSN, newegg.com, Sears, QVC, Micro Center,


PLAINTIFF’S ORIGINAL COMPLAINT FOR
PATENT INFRINGEMENT                               6
Case 2:22-cv-07541-GW-MRW Document 1 Filed 02/08/21 Page 7 of 40 Page ID #:7




BestBuy, Costco, Lowes, Nebraska Furniture Mart, The Home Depot, Office Depot, Target,

Staples, Sam’s Club, Walmart, Conn’s Home Plus, Game Stop, and Brookstone. See., e.g., TP-

Link - Deco AC2200, BEST BUY, https://www.bestbuy.com/site/tp-link-deco-ac2200-tri-band-

mesh-wi-fi-system-with-built-in-smart-hub-2-pack-white/6324964.p?skuId=6324964               (showing

that TP-Link – Deco AC220 is offered for sale at BestBuy location at 190 E Stacy Rd Allen, TX

75002, i.e., in this judicial district). TP-Link Tech. also provides application software (“apps”), the

“Deco App” and the “Kasa Smart” app for download and use in conjunction with and as a part of

the wireless communication network that connects TP-Link Products and other network devices.

These apps are available via digital distribution platforms operated by Apple Inc. and Google for

download by users and execution on smartphone devices. See, e.g., TP-Link Deco, GOOGLE PLAY,

https://play.google.com/store/apps/details?id=com.tplink.tpm5&hl=en_US              (offering      the

application for download and indicating that the application is offered by TP-Link Tech.’s

subsidiary or related entity “TP-Link Corporation Limited”).

       16.   Based on TP-Link Tech.’s connections and relationship with these national retailers

and digital distribution platforms, TP-Link Tech. knows that Texas is a termination point of the

established distribution channel, namely online and brick and mortar stores offering TP-Link

Products and related services and software to distribution partners, retailers (including national

retailers), reseller partners, solution partners, brand ambassadors, service providers, consumers,

and other users in Texas. TP-Link Tech., therefore, has purposefully directed its activities at Texas,

and should reasonably anticipate being brought in this Court, at least on this basis. See Icon Health

& Fitness, Inc. v. Horizon Fitness, Inc., 2009 WL 1025467, at (E.D. Tex. 2009) (finding that “[a]s

a result of contracting to manufacture products for sale in” national retailers’ stores, the defendant




PLAINTIFF’S ORIGINAL COMPLAINT FOR
PATENT INFRINGEMENT                               7
Case 2:22-cv-07541-GW-MRW Document 1 Filed 02/08/21 Page 8 of 40 Page ID #:8




“could have expected that it could be brought into court in the states where [the national retailers]

are located”).

       17.   Upon information and belief, TP-Link Tech. alone and in concert with other related

entities such as Defendant TP-Link Corp., Defendant TP-Link Intl, and U.S.-based TP-Link USA

manufactures and purposefully places infringing TP-Link Products in established distribution

channels in the stream of commerce, including in Texas, via distributors and reseller partners, such

as at least those listed on TP-Link’s website. For example, TP-Link Tech. imports to Texas or

through a related entity and directly sells and offers for sale infringing TP-Link Products in Texas

to distributor CDW Corporation (“CDW”), which has a distribution location at 5908 Headquarters

Dr., Suite 200, Plano, TX 75024, which is in this judicial district. See Locations, CDW,

https://www.cdw.com/content/cdw/en/locations.html. CDW offers infringing TP-Link Products

for sale on its website. See, e.g., TP-Link DECO M5 - Wi-Fi system, CDW,

https://www.cdw.com/product/tp-link-deco-m5-wi-fi-system-802.11b-g-n-ac-bluetooth-4.2-

desktop/5085325?pfm=srh. Via this website, TP-Link Products are offered for sale to consumers

in the state of Texas. TP-Link Tech. also delivers networking products directly to distributors in

the U.S., such as Solution Box LLC (located in Miami, FL), as indicated by import records. See,

e.g., Supply Chain Intelligence about: Tp Link Technologies Co. Ltd., PANJIVA,

https://panjiva.com/Tp-Link-Technologies-Co-Ltd/27804596 (showing at least one shipment to

“Solution Box LLC” in January of 2021 consisting of, for example, networking products). These

suppliers and distributors import, advertise, offer for sale and sell TP-Link Products via their own

websites to U.S. consumers, including to consumers in Texas. Based on TP-Link Tech.’s

connections and relationship, including supply contracts and other agreements with the U.S. and

Texas-based distributors and suppliers, such as at least CDW, TP-Link Tech. knows and has


PLAINTIFF’S ORIGINAL COMPLAINT FOR
PATENT INFRINGEMENT                              8
Case 2:22-cv-07541-GW-MRW Document 1 Filed 02/08/21 Page 9 of 40 Page ID #:9




known that Texas is a termination point of the established distribution channels for TP-Link

Products. TP-Link Tech., alone and in concert with related entities Defendant TP-Link Corp.,

Defendant TP-Link Intl, and U.S.-based TP-Link USA has purposefully directed its activities at

Texas, and should reasonably anticipate being brought in this Court, at least on this basis. See

Ultravision Technologies, LLC v. Holophane Europe Limited, 2020 WL 3493626, at *5 (E.D. Tex.

2020) (finding sufficient to make a prima facie showing of personal jurisdiction allegations that

“Defendants either import the products to Texas themselves or through a related entity”); see also

Bench Walk Lighting LLC v. LG Innotek Co., Ltd et al., Civil Action No. 20-51-RGA, 2021 WL

65071, at *7-8 (D. Del., Jan. 7, 2021) (denying motion to dismiss for lack of personal jurisdiction

based on the foreign defendant entering into supply contract with U.S. distributor and the

distributor sold and shipped defendant’s products from the U.S. to the a customer in the forum

state).

          18.   In the alternative, this Court has personal jurisdiction over TP-Link Tech. under

Federal Rule of Civil Procedure 4(k)(2), because the claims for patent infringement in this action

arise under federal law, TP-Link Tech. is not subject to the jurisdiction of the courts of general

jurisdiction of any state, and exercising jurisdiction over TP-Link Tech. is consistent with the U.S.

Constitution.

          19.   Venue is proper in this judicial district pursuant to 28 U.S.C. § 1391. Defendant TP-

Link Tech. is a foreign entity and may be sued in any judicial district under 28 U.S.C. § 1391(c).

                                            TP-Link Corp.
          20.   Upon information and belief, Defendant TP-Link Corp. is subject to this Court’s

specific and general personal jurisdiction pursuant to due process and/or the Texas Long Arm

Statute, due at least to its substantial business in this State and this judicial district, including: (A)

at least part of its infringing activities alleged herein which purposefully avail the Defendant of

PLAINTIFF’S ORIGINAL COMPLAINT FOR
PATENT INFRINGEMENT                                 9
Case 2:22-cv-07541-GW-MRW Document 1 Filed 02/08/21 Page 10 of 40 Page ID #:10




 the privilege of conducting those activities in this state and this judicial district and, thus, submits

 itself to the jurisdiction of this court; and (B) regularly doing or soliciting business, engaging in

 other persistent conduct targeting residents of Texas and this judicial district, and/or deriving

 substantial revenue from infringing goods offered for sale, sold, and imported and services

 provided to and targeting Texas residents and residents of this judicial district vicariously through

 and/or in concert with its partners, alter egos, intermediaries, agents, distributors, importers,

 customers, subsidiaries, and/or consumers. For example, TP-Link Corp. and related entities

 Defendant TP-Link Corp., Defendant TP-Link Intl, and U.S.-based TP-Link USA manufacture,

 import, distribute, offer for sale, sell, and induce infringing use of TP-Link Products to distribution

 partners, retailers (including national retailers), reseller partners, solution partners, brand

 ambassadors, service providers, consumers, and other users.

         21.   This Court has personal jurisdiction over TP-Link Corp., directly and/or indirectly

 via the activities of TP-Link Corp.’s intermediaries, agents, related entities, distributors, importers,

 customers, subsidiaries, and/or consumers, including related entities Defendant TP-Link Tech.,

 Defendant TP-Link Intl, and U.S.-based TP-Link USA. Alone and in concert with or via direction

 and control of or by at least these entities, TP-Link Corp. has committed acts of direct and/or

 indirect patent infringement within Texas, and elsewhere within the United States, giving rise to

 this action and/or has established minimum contacts with Texas. For example, TP-Link Corp. is

 at least a related entity with TP-Link Tech., TP-Link Intl, and subsidiary TP-Link USA in a global

 network of sales and distribution of TP-Link Products that includes retail stores and distributors

 operating in Texas, including this judicial district. See Choose Your Location,               TP-LINK,

 https://www.tp-link.com/us/choose-your-location/. TP-Link Corp. directly and via direction and

 control of or by its related entities participates in the manufacture, shipping, importing and


 PLAINTIFF’S ORIGINAL COMPLAINT FOR
 PATENT INFRINGEMENT                               10
Case 2:22-cv-07541-GW-MRW Document 1 Filed 02/08/21 Page 11 of 40 Page ID #:11




 distribution of TP-Link Products to the U.S. For example, TP-Link Corp. is the applicant for FCC

 registrations for the sale and use of TP-Link Products in the U.S., including being identified on

 labels as the manufacturing party. See, e.g., Label Location, FCCID.IO, available for download

 via https://fccid.io/2AXJ4P9V2/Label/2AXJ4P9V2-Label-Location-5079096.pdf (providing a

 copy of the label for TP-Link model no. AC1200 + AV1000). As a part of TP-Link’s global

 manufacturing and distribution network, TP-Link Corp. also purposefully places infringing TP-

 Link Products in established distribution channels in the stream of commerce, including in Texas,

 via distribution partners, retailers (including national retailers), reseller partners, solution partners,

 brand ambassadors, service providers, consumers, and other users. Therefore, TP-Link Corp.,

 alone and in concert with related entities Defendant TP-Link Tech., Defendant TP-Link Intl, and

 subsidiary TP-Link USA, has purposefully directed its activities at Texas, and should reasonably

 anticipate being brought in this Court, at least on this basis.

         22.   This Court has personal jurisdiction over TP-Link Corp., directly and/or through the

 activities of TP-Link Corp.’s intermediaries, agents, related entities, distributors, importers,

 customers, subsidiaries, and/or consumers, including through the activities of Defendant TP-Link

 Tech., TP-Link Intl, and TP-Link USA. Through its own conduct and through direction and control

 of these entities or control by other Defendants, TP-Link Corp. has committed acts of direct and/or

 indirect patent infringement within Texas, and elsewhere within the United States, giving rise to

 this action and/or has established minimum contacts with Texas such that personal jurisdiction

 over TP-Link Corp. would not offend traditional notions of fair play and substantial justice.

         23.     In the alternative, the Court has personal jurisdiction over TP-Link Corp. under

 Federal Rule of Civil Procedure 4(k)(2), because the claims for patent infringement in this action

 arise under federal law, TP-Link Corp. is not subject to the jurisdiction of the courts of general


 PLAINTIFF’S ORIGINAL COMPLAINT FOR
 PATENT INFRINGEMENT                                11
Case 2:22-cv-07541-GW-MRW Document 1 Filed 02/08/21 Page 12 of 40 Page ID #:12




 jurisdiction of any state, and exercising jurisdiction over TP-Link Corp. is consistent with the U.S.

 Constitution.

         24.     Venue is proper in this judicial district pursuant to 28 U.S.C. § 1391 because, among

 other things, TP-Link Corp. is not a resident in the United States, and thus may be sued in any

 judicial district, including this one, pursuant to 28 U.S.C. § 1391(c)(3). See also In re HTC

 Corporation, 889 F.3d 1349, 1357 (Fed. Cir. 2018) (“The Court's recent decision in TC Heartland

 does not alter” the alien-venue rule.).

                                              TP-Link Intl
         25.     Upon information and belief, Defendant TP-Link Intl is subject to this Court’s

 specific and general personal jurisdiction pursuant to due process and/or the Texas Long Arm

 Statute, due at least to its substantial business in this State and this judicial district, including: (A)

 at least part of its infringing activities alleged herein which purposefully avail the Defendant of

 the privilege of conducting those activities in this state and this judicial district and, thus, submits

 itself to the jurisdiction of this court; and (B) regularly doing or soliciting business, engaging in

 other persistent conduct targeting residents of Texas and this judicial district, and/or deriving

 substantial revenue from infringing goods offered for sale, sold, and imported and services

 provided to and targeting Texas residents and residents of this judicial district vicariously through

 and/or in concert with its partners, alter egos, intermediaries, agents, distributors, importers,

 customers, subsidiaries, and/or consumers. For example, TP-Link Intl and related entities

 Defendant TP-Link Tech., Defendant TP-Link Corp., and U.S.-based TP-Link USA manufacture,

 import, distribute, offer for sale, sell, and induce infringing use of TP-Link Products to distribution

 partners, retailers (including national retailers), reseller partners, solution partners, brand

 ambassadors, service providers, consumers, and other users.



 PLAINTIFF’S ORIGINAL COMPLAINT FOR
 PATENT INFRINGEMENT                                12
Case 2:22-cv-07541-GW-MRW Document 1 Filed 02/08/21 Page 13 of 40 Page ID #:13




         26.   This Court has personal jurisdiction over TP-Link Intl, directly and/or indirectly via

 the activities of TP-Link Intl’s intermediaries, agents, related entities, distributors, importers,

 customers, subsidiaries, and/or consumers, including related entities Defendant TP-Link Tech.,

 Defendant TP-Link Corp., and U.S.-based TP-Link USA. Alone and in concert with or via

 direction and control of or by at least these entities, TP-Link Corp. has committed acts of direct

 and/or indirect patent infringement within Texas, and elsewhere within the United States, giving

 rise to this action and/or has established minimum contacts with Texas. For example, TP-Link Intl

 operates in a global network of sales and distribution of TP-Link Products that includes retail stores

 and distributors operating in Texas, including this judicial district. See Choose Your Location, TP-

 LINK,   https://www.tp-link.com/us/choose-your-location/. TP-Link Intl also directly and via

 direction and control of or by its related entities participates in the manufacture, shipping,

 importing and distribution of TP-Link Products to the U.S. For example, TP-Link Intl is the

 applicant for FCC registrations for the sale and use of TP-Link Products in the U.S., including

 being identified on labels as the manufacturing party. See, e.g., Label Location, FCCID.IO,

 available for download via https://fccid.io/2AXJ4P9V2/Label/2AXJ4P9V2-Label-Location-

 5079096.pdf (providing a copy of the label for TP-Link model no. AC1200 + AV1000). TP-Link

 Intl also delivers TP-Link Products, such as networking products, directly to TP-Link USA in the

 U.S., according to import records. See Supply Chain Intelligence about: Tp Link International Ltd.,

 PANJIVA, https://panjiva.com/Tp-Link-International-Ltd/39242970. As a part of TP-Link’s global

 manufacturing and distribution network, TP-Link Intl also purposefully places infringing TP-Link

 Products in established distribution channels in the stream of commerce, including in Texas, via

 distribution partners, retailers (including national retailers), reseller partners, solution partners,

 brand ambassadors, service providers, consumers, and other users. Therefore, TP-Link Intl, alone


 PLAINTIFF’S ORIGINAL COMPLAINT FOR
 PATENT INFRINGEMENT                              13
Case 2:22-cv-07541-GW-MRW Document 1 Filed 02/08/21 Page 14 of 40 Page ID #:14




 and in concert with related entities Defendant TP-Link Tech., Defendant TP-Link Corp., and

 subsidiary TP-Link USA, has purposefully directed its activities at Texas, and should reasonably

 anticipate being brought in this Court, at least on this basis.

            27.   This Court has personal jurisdiction over TP-Link Intl, directly and/or through the

 activities of TP-Link Intl’s intermediaries, agents, related entities, distributors, importers,

 customers, subsidiaries, and/or consumers, including through the activities of Defendant TP-Link

 Tech., TP-Link Corp., and TP-Link USA. Through its own conduct and through direction and

 control of these entities or control by other Defendants, TP-Link Intl has committed acts of direct

 and/or indirect patent infringement within Texas, and elsewhere within the United States, giving

 rise to this action and/or has established minimum contacts with Texas such that personal

 jurisdiction over TP-Link Intl would not offend traditional notions of fair play and substantial

 justice.

            28.    In the alternative, the Court has personal jurisdiction over TP-Link Intl under

 Federal Rule of Civil Procedure 4(k)(2), because the claims for patent infringement in this action

 arise under federal law, TP-Link Intl is not subject to the jurisdiction of the courts of general

 jurisdiction of any state, and exercising jurisdiction over TP-Link Intl is consistent with the U.S.

 Constitution.

            29.   Venue is proper in this judicial district pursuant to 28 U.S.C. § 1391 because, among

 other things, TP-Link Intl is not a resident in the United States, and thus may be sued in any judicial

 district, including this one, pursuant to 28 U.S.C. § 1391(c)(3). See also In re HTC Corporation,

 889 F.3d 1349, 1357 (Fed. Cir. 2018) (“The Court's recent decision in TC Heartland does not

 alter” the alien-venue rule.).




 PLAINTIFF’S ORIGINAL COMPLAINT FOR
 PATENT INFRINGEMENT                                14
Case 2:22-cv-07541-GW-MRW Document 1 Filed 02/08/21 Page 15 of 40 Page ID #:15




        30.   On information and belief, Defendants TP-Link Tech., TP-Link Corp., and TP-Link

 Intl each have significant ties to, and presence in, the State of Texas and the Eastern District of

 Texas, making venue in this judicial district both proper and convenient for this action.

                      THE ASSERTED PATENTS AND TECHNOLOGY

        31.   The Asserted Patents cover various aspects of communication, routing, and

 organizing network nodes within wireless communications networks. The methods and

 apparatuses described in each of the Asserted Patents apply to mobile ad hoc networks—dynamic

 wireless networks without any routing structure, such as the networks created between Defendants’

 IoT and smart home devices.

        32.   The ’986 patent involves scheduling time slots for communication links between

 nodes in a wireless communication network in order to mitigate interference and respond to

 variations. It discusses using those scheduled time slots and data sent between the nodes to

 determine metrics and priority levels for establishing additional communication links. The

 methods claimed in the ’986 patent allow for optimized communication within a wireless network.

        33.   The ’310 patent provides methods for routing message data between nodes in a

 wireless communication network. It discusses sending route requests from a source node to

 determine possible routes to a destination node via different intermediate nodes within the

 network. By using various metrics that describe the links between the network nodes, the possible

 routes can then be ranked and the best route from the source node to the destination node can be

 determined. The ’310 patent describes methods and network structures that provide network routes

 that are more reliable, timelier, and have less traffic loads than previous solutions.

        34.   The ’426 patent describes a wireless communications network with multiple channels

 as well as methods for utilizing such a network in a way that efficiently makes use of the multiple


 PLAINTIFF’S ORIGINAL COMPLAINT FOR
 PATENT INFRINGEMENT                               15
Case 2:22-cv-07541-GW-MRW Document 1 Filed 02/08/21 Page 16 of 40 Page ID #:16




 channels to optimize routing and transmitting data. With multiple channels available, multiple

 routing requests can be sent and multiple routes can be made available, allowing for an optimal

 route to be selected.

        35.   Upon information and belief, a significant portion of the operating revenue of

 Defendants is derived from the manufacture, distribute, sale, and use of home and business

 networking, IoT, and smart home products and components, which are imported into the United

 States, distributed, and ultimately sold to and used by U.S. consumers. For example, TP-Link’s

 global website touts that it is “consistently ranked by analyst firm IDC as the No. 1 provider of

 Wi-Fi devices[], supplying distribution to more than 170 countries and serving billions of people

 worldwide…[a]ccording to latest published IDC Worldwide Quarterly WLAN Tracker Report, Q2

 2018 Final Release.” See About TP-Link,                TP-LINK,   https://www.tp-link.com/en/about-

 us/corporate-profile/.

        36.   The Asserted Patents cover Defendants’ home and business networking, IoT, and

 smart home products and components, software, services, and processes related to same that

 generally connect to other devices in a network or other networks (including in IoT and cloud

 networks) using a wireless protocol, such as ZigBee and WiFi, including, but not limited to,

 Defendants’ Deco Whole Home Mesh Wi-Fi, Home and Business Wi-Fi Routers, Network

 Expanders, Network Switches, Adapters, Security Cameras, Smart Plugs, Smart Lighting, Smart

 Switches, and related accessories and software (all collectively referred to as the “Accused

 Products”). These Accused Products infringe the Asserted Patents by at least their manufacture,

 importation, distribution, sale, and use in the U.S.

        37.   Examples of Defendant’s Accused Products are at least the family of TP-Link’s mesh

 technology, incorporated in, for example, Deco M9 Plus devices. These device “provide whole-


 PLAINTIFF’S ORIGINAL COMPLAINT FOR
 PATENT INFRINGEMENT                              16
Case 2:22-cv-07541-GW-MRW Document 1 Filed 02/08/21 Page 17 of 40 Page ID #:17




 home IoT coverage with Wi-Fi, Bluetooth, and ZigBee integrated into a single system.” The

 Asserted Patents also cover TP-Links Products that use ZigBee protocol to communicate with

 other devices on the network, including those of third-party manufacturers. ZigBee protocol is

 based on the IEEE 802.15.4 standard. See Deco M9 Plus Smart Home Device Compatible List, TP-

 LINK, https://www.tp-link.com/us/Deco-M9-Plus/compatibility/. An example of the Deco M9 Plus

 is shown below:




        38.   ZigBee protocols, which are covered by the Asserted Patents and utilized by certain

 Accused Products, are based on the IEEE 802.15.4 standard for wireless network communication.

 Below is an excerpt from the technical specification for ZigBee protocols describing the basic

 architecture and standards that enable wireless network communication.




 PLAINTIFF’S ORIGINAL COMPLAINT FOR
 PATENT INFRINGEMENT                            17
Case 2:22-cv-07541-GW-MRW Document 1 Filed 02/08/21 Page 18 of 40 Page ID #:18




 ZigBee Specification, revision r21 at 1, THE ZIGBEE ALLIANCE, https://zigbeealliance.org/wp-
 content/uploads/2019/11/docs-05-3474-21-0csg-zigbee-specification.pdf (August 5, 2015).

        39.   The IEEE 802.15.4 standard based mobile ad-hoc network, utilized by the Accused

 Products, is a type of Low-Rate Wireless Personal Area Network (LR-WPAN) that allows

 transmission of data between plurality of network nodes. The types of nodes include an FFD–full-

 function device (functioning as a network coordinator node) and an RFD–reduced function device

 (node that associates itself with the FFD).




 PLAINTIFF’S ORIGINAL COMPLAINT FOR
 PATENT INFRINGEMENT                           18
Case 2:22-cv-07541-GW-MRW Document 1 Filed 02/08/21 Page 19 of 40 Page ID #:19




 PLAINTIFF’S ORIGINAL COMPLAINT FOR
 PATENT INFRINGEMENT                  19
Case 2:22-cv-07541-GW-MRW Document 1 Filed 02/08/21 Page 20 of 40 Page ID #:20




        40.   The Asserted Patents also cover TP-Link Products, such as Deco Whole Home Mesh

 Wi-Fi, Home and Business Wi-Fi Routers, Cable Routers, Gaming Routers, Network Expanders,

 Network Switches, Adapters, Kasa Security Cameras, Kasa Smart Plugs, Kasa Smart Lighting,

 Kasa Smart Switches, Omada (a TP-Link brand) access points, desktop access points, power line

 products, and related accessories and software, that are Wi-Fi (IEEE 802.11) compliant, such as

 those shown below.




 PLAINTIFF’S ORIGINAL COMPLAINT FOR
 PATENT INFRINGEMENT                           20
Case 2:22-cv-07541-GW-MRW Document 1 Filed 02/08/21 Page 21 of 40 Page ID #:21




        41.   The IEEE 802.11 standard defines a wireless local area network (WLAN) including

 multiple mobile nodes (portable/hand-held, moving stations (STAs)). As discussed in the overview

 of the protocol below, the IEEE 802.11 WLAN supports quality of service (QoS) requirements

 originating from network devices/stations (STAs).




 IEEE Std 802.11-2007, IEEE COMPUTER SOCIETY, June 12, 2007, p. 49, 50, accessible at
 https://www.iith.ac.in/~tbr/teaching/docs/802.11-2007.pdf




 PLAINTIFF’S ORIGINAL COMPLAINT FOR
 PATENT INFRINGEMENT                           21
Case 2:22-cv-07541-GW-MRW Document 1 Filed 02/08/21 Page 22 of 40 Page ID #:22




        42.    By utilizing 802.11 and/or ZigBee protocols, the Accused Products perform methods

 for communication, routing, and organizing network nodes within wireless communications

 networks that are covered by the Asserted Patents. Each respective Count below describes how the

 Accused Products infringe on specific claims of the Asserted Patents.

                                              COUNT I
                      (INFRINGEMENT OF U.S. PATENT NO. 6,958,986)
        43.    Plaintiff incorporates paragraphs 1 through 42 herein by reference.

        44.    Plaintiff is the assignee of the ’986 patent, entitled “Wireless Communication

 System with Enhanced Time Slot Allocation and Interference Avoidance/Mitigation Features and

 Related Methods,” with ownership of all substantial rights in the ’986 patent, including the right

 to exclude others and to enforce, sue, and recover damages for past and future infringements.

        45.    The ’986 patent is valid, enforceable, and was duly issued in full compliance with

 Title 35 of the United States Code. The ’986 patent issued from U.S. Patent Application No.

 10/401,004.

        46.    TP-Link has and continues to directly and/or indirectly infringe (by inducing

 infringement) one or more claims of the ’986 patent in this judicial district and elsewhere in Texas

 and the United States.

        47.    Upon information and belief, TP-Link designs, develops, manufactures, imports,

 distributes, offers to sell, sells, and uses the Accused Products, including via the activities of TP-

 Link Tech. and its subsidiaries or related entities, such as Defendant TP-Link Corp., Defendant

 TP-Link Intl and TP-Link USA.

        48.    Defendants TP-Link Tech., TP-Link Corp., and TP-Link Intl (i.e., “TP-Link”) each

 directly infringe the ’986 patent via 35 U.S.C. § 271(a) by making, offering for sale, selling, and/or

 importing the Accused Products, their components, and/or products containing the same that

 PLAINTIFF’S ORIGINAL COMPLAINT FOR
 PATENT INFRINGEMENT                              22
Case 2:22-cv-07541-GW-MRW Document 1 Filed 02/08/21 Page 23 of 40 Page ID #:23




 incorporate the fundamental technologies covered by the ’986 patent to, for example, its alter egos,

 agents, intermediaries, related entities, distributors, importers, customers, subsidiaries, and/or

 consumers. Furthermore, upon information and belief, Defendants make and sell the Accused

 Products outside of the United States, deliver those products to related entities, subsidiaries, online

 stores, distribution partners, retailers, reseller partners, solution partners, customers and other

 related service providers in the United States, or in the case that it delivers the Accused Products

 outside of the United States it does so intending and/or knowing that those products are destined

 for the United States and/or designing those products for sale and use in the United States, thereby

 directly infringing the ’986 patent. See, e.g., Lake Cherokee Hard Drive Techs., L.L.C. v. Marvell

 Semiconductor, Inc., 964 F. Supp. 2d 653, 658 (E.D. Tex. 2013) (denying summary judgment and

 allowing presentation to jury as to “whether accused products manufactured and delivered abroad

 but imported into the United States market by downstream customers … constitute an infringing

 sale under § 271(a)”).

         49.   Furthermore, Defendant TP-Link Tech. directly infringes the ’986 patent through

 its direct involvement in the activities of its subsidiaries and related entities, including Defendants

 TP-Link Corp., Defendant TP-Link Intl, and TP-Link USA., including by selling and offering for

 sale the Accused Products directly to its related entities and importing the Accused Products into

 the United States for its related entities. Upon information and belief, TP-Link USA conducts

 activities that constitutes direct infringement of the ’986 patent under 35 U.S.C. § 271(a) by

 importing, offering for sale, selling, and/or using those Accused Products in the U.S. on behalf

 of and for the benefit of Defendants. TP-Link Tech. is vicariously liable for the infringing conduct

 of Defendants TP-Link Corp., Defendant TP-Link Intl, and TP-Link USA and other subsidiaries

 (under both the alter ego and agency theories) because, as an example and on information and


 PLAINTIFF’S ORIGINAL COMPLAINT FOR
 PATENT INFRINGEMENT                                23
Case 2:22-cv-07541-GW-MRW Document 1 Filed 02/08/21 Page 24 of 40 Page ID #:24




 belief, Defendants TP-Link Tech., TP-Link Corp., Defendant TP-Link Intl, and TP-Link USA

 are essentially the same company, and TP-Link Tech. along with its related entities have the right

 and ability to control the infringing activities of Defendant TP-Link Corp., Defendant TP-Link

 Intl, and TP-Link USA and TP-Link Tech. receives a direct financial benefit from that

 infringement.

        50.   For example, TP-Link infringes claim 25 of the ’986 patent via the Accused

 Products such as Deco Whole Home Mesh Wi-Fi, Home and Business Wi-Fi Routers, Cable

 Routers, Gaming Routers, Network Expanders, Network Switches, Adapters, Kasa Security

 Cameras, Kasa Smart Plugs, Kasa Smart Lighting, Kasa Smart Switches, Omada (a TP-Link

 brand) access points, desktop access points, power line products, and related accessories and

 software, which utilize ZigBee and/or 802.11 (WiFi) protocols.

        51.   The Accused Products implement the “communication method for a wireless

 communication network comprising a plurality of mobile nodes each comprising a data queue” of

 claim 25. Each of the Accused Products utilizes ZigBee and/or WiFi protocols, which are based

 on the IEEE 802.15.4 standard or IEEE 802.11 standard and involve communication between two

 or more devices on a wireless channel. See THE ZIGBEE ALLIANCE, supra; IEEE Std 802.11-2007,

 supra. The Accused Products schedule respective semi-permanent time slots to establish

 communication links between respective pairs of mobile nodes for transmitting data stored in the

 data queues therebetween. For example, by utilizing ZigBee, each of the Accused Products include

 contention access period (“CAP”) time slots. By default, network nodes use CAP time slots for

 data and frame transmission.

        52.   By utilizing WiFi, multiple QoS-supported STAs in the Accused Products utilize a

 contention-based access mechanism (EDCA) to compete to transmit data, i.e., via transmit


 PLAINTIFF’S ORIGINAL COMPLAINT FOR
 PATENT INFRINGEMENT                             24
Case 2:22-cv-07541-GW-MRW Document 1 Filed 02/08/21 Page 25 of 40 Page ID #:25




 opportunities (TXOPs), in a contention period (“CP”). These time slots in the CP are semi-

 permanent.

          53.   The Accused Products determine link utilization metrics for each communication

 link based upon a quantity of data previously sent over the communication link during the semi-

 permanent time slots and the data queues. For example, by utilizing ZigBee protocols, the

 Accused Products store queues of pending transactions then transmit the transactions on a first-

 come-first-served basis to nodes that request them. The transactions are transmitted according to

 algorithms (i.e., link utilization metrics); the transaction remains in the queue if the algorithm

 fails.

          54.   By utilizing WiFi, the Low-Rate Wireless Personal Area Network (LR-WPAN) of

 the Accused Products has a coordinator that stores pending transactions in a queue. If there are

 multiple pending transactions in the queue, they are transmitted on a first-come-first-serve basis

 to the nodes/devices that request them, i.e., transmitted according to “link utilization metrics.” The

 more the number of requests and corresponding responses for transmitting the queued pending

 data, the more utilized will be the CAP.

          55.   The Accused Products schedule demand assigned time slots for establishing

 additional communication links between the pairs of mobile nodes for transmitting the data based

 upon the link utilization metrics. For example, by utilizing ZigBee protocols, each of the Accused

 Products schedule guaranteed time slots (“GTS,” i.e., assigned time slots) for transmission of

 data. The GTSs are dedicated to nodes or devices that require specific data bandwidth or latency

 (i.e., based on link utilization metrics) for transmission.

          56.   By utilizing WiFi, the LR-WPAN coordinator schedules demand assigned to GTSs,

 which are dedicated nodes or devices that require specific data bandwidth or low-latency


 PLAINTIFF’S ORIGINAL COMPLAINT FOR
 PATENT INFRINGEMENT                               25
Case 2:22-cv-07541-GW-MRW Document 1 Filed 02/08/21 Page 26 of 40 Page ID #:26




 transmission. The GTSs are scheduled in addition to the CAP defined in a superframe, and are

 allocated to such devices or nodes, given there is sufficient capacity in the superframe, i.e., the

 GTSs are scheduled based upon the link utilization metrics.

        57.   The technology discussion above and the exemplary Accused Products provide

 context for Plaintiff’s infringement allegations.

        58.   At a minimum, TP-Link has known of the ’986 patent at least as early as the filing

 date of this complaint. In addition, TP-Link has known about the ’986 patent since at least July 16,

 2020, when TP-Link received a letter regarding infringement of Stingray’s patent portfolio, which

 includes the ’986 patent and is related to mesh networking used in wireless control of home

 automation devices. The letter specifically referenced the infringing use of Stingray’s patented

 technologies by TP-Links’ Z-Wave and ZigBee compatible smart home automation products,

 including routers, smart lights, smart plugs, and smart outlets.

        59.   Upon information and belief, since at least the above-mentioned date when TP-Link

 was on notice of its infringement, Defendants have each actively induced, under U.S.C. § 271(b),

 importers, online stores, distribution partners, retailers, reseller partners, solution partners,

 consumers, and other related service providers that import, distribute, purchase, offer for sale, sell,

 or use the Accused Products that include or are made using all of the limitations of one or more

 claims of the ’986 patent to directly infringe one or more claims of the ’986 patent by using,

 offering for sale, selling, and/or importing the Accused Products. Since at least the notice provided

 on the above-mentioned date, Defendants each do so with knowledge, or with willful blindness of

 the fact, that the induced acts constitute infringement of the ’986 patent. Upon information and

 belief, Defendants each intend to cause, and have taken affirmative steps to induce, infringement

 by importers, online stores, distribution partners, retailers, reseller partners, solution partners,


 PLAINTIFF’S ORIGINAL COMPLAINT FOR
 PATENT INFRINGEMENT                                 26
Case 2:22-cv-07541-GW-MRW Document 1 Filed 02/08/21 Page 27 of 40 Page ID #:27




 consumers, and other related service providers by at least, inter alia, creating advertisements that

 promote the infringing use of the Accused Products, creating and/or maintaining established

 distribution channels for the Accused Products into and within the United States, manufacturing

 the Accused Products in conformity with U.S. laws and regulations, distributing or making

 available instructions or manuals for these products to purchasers and prospective buyers, testing

 wireless networking features in the Accused Products, and/or providing technical support,

 replacement parts, or services for these products to purchasers in the United States. See, e.g.,

 Download Center, TP-LINK, https://www.tp-link.com/us/support/download/ (providing consumers

 access to “firmware, drivers, user guide, utility or any other download resources” for TP-Link

 Products). Furthermore, TP-Link markets its mesh network devices and its application software as

 “compatible with a whole range of IoT devices, from smart bulbs and plugs to sensors and

 thermostats” that function within the same networks as the TP-Link Products and “can be

 controlled via the Deco app with no additional hub required.” See Deco M9 Plus Smart Home

 Device Compatible List,       TP-LINK,   https://www.tp-link.com/us/Deco-M9-Plus/compatibility/

 (listing smart devices, such as smart bulbs, switches, plugs, sensors, outlets, an door locks from

 third-party manufacturers, such as Philips, Cree, GE, Samsung, and Kwikset). Such compatibility

 provides convenience and added functionality that induces consumers to use TP-Link Products,

 including mesh networking devices utilizing ZigBee and/or WiFi protocols and thus further

 infringe the ’986 patent.

        60.   Upon information and belief, despite having knowledge of the ’986 patent and

 knowledge that it is directly and/or indirectly infringing one or more claims of the ’986 patent, TP-

 Link has nevertheless continued its infringing conduct and disregarded an objectively high

 likelihood of infringement. Each of Defendants infringing activities relative to the ’986 patent have


 PLAINTIFF’S ORIGINAL COMPLAINT FOR
 PATENT INFRINGEMENT                              27
Case 2:22-cv-07541-GW-MRW Document 1 Filed 02/08/21 Page 28 of 40 Page ID #:28




 been, and continue to be, willful, wanton, malicious, in bad-faith, deliberate, consciously wrongful,

 flagrant, characteristic of a pirate, and an egregious case of misconduct beyond typical

 infringement such that Plaintiff is entitled under 35 U.S.C. § 284 to enhanced damages up to three

 times the amount found or assessed.

        61.    Plaintiff Stingray has been damaged as a result of TP-Link’s infringing conduct

 described in this Count. Each Defendant is thus liable to Stingray in an amount that adequately

 compensates Stingray for TP-Link’s infringements, which, by law, cannot be less than a reasonable

 royalty, together with interest and costs as fixed by this Court under 35 U.S.C. § 284.

                                             COUNT II

                      (INFRINGEMENT OF U.S. PATENT NO. 6,961,310)

        62.    Plaintiff incorporates paragraphs 1 through 61 herein by reference.

        63.    Plaintiff is the assignee of the ’310 patent, entitled “Multiple Path Reactive Routing

 in a Mobile Ad Hoc Network,” with ownership of all substantial rights in the ’310 patent,

 including the right to exclude others and to enforce, sue, and recover damages for past and future

 infringements.

        64.    The ’310 patent is valid, enforceable, and was duly issued in full compliance with

 Title 35 of the United States Code. The ’310 patent issued from U.S. Patent Application No.

 10/214,997.

        65.    TP-Link has and continues to directly and/or indirectly infringe (by inducing

 infringement) one or more claims of the ’310 patent in this judicial district and elsewhere in Texas

 and the United States.

        66.    Upon information and belief, TP-Link designs, develops, manufactures, imports,

 distributes, offers to sell, sells, and uses the Accused Products, including via the activities of TP-

 PLAINTIFF’S ORIGINAL COMPLAINT FOR
 PATENT INFRINGEMENT                              28
Case 2:22-cv-07541-GW-MRW Document 1 Filed 02/08/21 Page 29 of 40 Page ID #:29




 Link Tech. and its subsidiaries or related entities, such as Defendant TP-Link Corp., Defendant

 TP-Link Intl and TP-Link USA.

         67.   Defendants TP-Link Tech., TP-Link Corp., and TP-Link Intl (i.e., “TP-Link”) each

 directly infringe the ’310 patent via 35 U.S.C. § 271(a) by making, offering for sale, selling, and/or

 importing the Accused Products, their components, and/or products containing the same that

 incorporate the fundamental technologies covered by the ’310 patent to, for example, its alter egos,

 agents, intermediaries, related entities, distributors, importers, customers, subsidiaries, and/or

 consumers. Furthermore, upon information and belief, Defendants make and sell the Accused

 Products outside of the United States, deliver those products to related entities, subsidiaries, online

 stores, distribution partners, retailers, reseller partners, solution partners, customers and other

 related service providers in the United States, or in the case that it delivers the Accused Products

 outside of the United States it does so intending and/or knowing that those products are destined

 for the United States and/or designing those products for sale and use in the United States, thereby

 directly infringing the ’310 patent. See, e.g., Lake Cherokee Hard Drive Techs., L.L.C. v. Marvell

 Semiconductor, Inc., 964 F. Supp. 2d 653, 658 (E.D. Tex. 2013) (denying summary judgment and

 allowing presentation to jury as to “whether accused products manufactured and delivered abroad

 but imported into the United States market by downstream customers … constitute an infringing

 sale under § 271(a)”).

         68.   Furthermore, Defendant TP-Link Tech. directly infringes the ’310 patent through

 its direct involvement in the activities of its subsidiaries and related entities, including Defendants

 TP-Link Corp., Defendant TP-Link Intl, and TP-Link USA., including by selling and offering for

 sale the Accused Products directly to its related entities and importing the Accused Products into

 the United States for its related entities. Upon information and belief, TP-Link USA conducts


 PLAINTIFF’S ORIGINAL COMPLAINT FOR
 PATENT INFRINGEMENT                                29
Case 2:22-cv-07541-GW-MRW Document 1 Filed 02/08/21 Page 30 of 40 Page ID #:30




 activities that constitutes direct infringement of the ’310 patent under 35 U.S.C. § 271(a) by

 importing, offering for sale, selling, and/or using those Accused Products in the U.S. on behalf

 of and for the benefit of Defendants. TP-Link Tech. is vicariously liable for the infringing conduct

 of Defendants TP-Link Corp., Defendant TP-Link Intl, and TP-Link USA and other subsidiaries

 (under both the alter ego and agency theories) because, as an example and on information and

 belief, Defendants TP-Link Tech., TP-Link Corp., Defendant TP-Link Intl, and TP-Link USA

 are essentially the same company, and TP-Link Tech. along with its related entities have the right

 and ability to control the infringing activities of Defendant TP-Link Corp., Defendant TP-Link

 Intl, and TP-Link USA and TP-Link Tech. receives a direct financial benefit from that

 infringement.

        69.   For example, Samsung infringes claim 13 of the ’310 patent via the Accused

 Products such as Deco Whole Home Mesh Wi-Fi, Home and Business Wi-Fi Routers, Cable

 Routers, Gaming Routers, Network Expanders, Network Switches, Adapters, Kasa Security

 Cameras, Kasa Smart Plugs, Kasa Smart Lighting, Kasa Smart Switches, Omada (a TP-Link

 brand) access points, desktop access points, power line products, and related accessories and

 software, which utilize the ZigBee protocol.

        70.   The Accused Products that utilize the ZigBee protocol implement the “method for

 routing message data from a source node to a destination node in a mobile ad hoc network

 comprising a plurality of intermediate mobile nodes between the source node and the destination

 node, and a plurality of wireless communication links connecting the nodes together” of claim

 13. ZigBee protocols are based on the IEEE 802.15.4 standard and involve communication

 between two or more devices on a wireless channel. See THE ZIGBEE ALLIANCE, supra.




 PLAINTIFF’S ORIGINAL COMPLAINT FOR
 PATENT INFRINGEMENT                              30
Case 2:22-cv-07541-GW-MRW Document 1 Filed 02/08/21 Page 31 of 40 Page ID #:31




        71.   The Accused Products discover, at the source node, routing to the destination node.

 For example, by utilizing ZigBee protocols, the Accused Products use route request commands,

 route request identifiers, and route reply commands to discover routing to the destination node.

        72.   The Accused Products rank, at the source node, discovered routes according to at

 least one metric. For example, by utilizing ZigBee protocols, the Accused Products use a path cost

 metric for route comparison (i.e., ranking discovered routes).

        73.   The Accused Products simultaneously distribute, at the source node, message data to

 the destination node along a plurality of the discovered routes based upon the ranking. For

 example, by utilizing ZigBee protocols, the Accused Products distribute message data (e.g., relay

 messages or deliver packets) to destination nodes.

        74.   The technology discussion above and the exemplary Accused Products provide

 context for Plaintiff’s infringement allegations.

        75.   At a minimum, TP-Link has known of the ’310 patent at least as early as the filing

 date of this complaint. In addition, TP-Link has known about the ’310 patent since at least July 16,

 2020, when TP-Link received a letter regarding infringement of Stingray’s patent portfolio, which

 includes the ’310 patent and is related to mesh networking used in wireless control of home

 automation devices. The letter specifically referenced the infringing use of Stingray’s patented

 technologies by TP-Links’ Z-Wave and ZigBee compatible smart home automation products,

 including routers, smart lights, smart plugs, and smart outlets.

        76.   Upon information and belief, since at least the above-mentioned date when TP-Link

 was on notice of its infringement, Defendants have each actively induced, under U.S.C. § 271(b),

 importers, online stores, distribution partners, retailers, reseller partners, solution partners,

 consumers, and other related service providers that import, distribute, purchase, offer for sale, sell,


 PLAINTIFF’S ORIGINAL COMPLAINT FOR
 PATENT INFRINGEMENT                                 31
Case 2:22-cv-07541-GW-MRW Document 1 Filed 02/08/21 Page 32 of 40 Page ID #:32




 or use the Accused Products that include or are made using all of the limitations of one or more

 claims of the ’310 patent to directly infringe one or more claims of the ’310 patent by using,

 offering for sale, selling, and/or importing the Accused Products. Since at least the notice provided

 on the above-mentioned date, Defendants each do so with knowledge, or with willful blindness of

 the fact, that the induced acts constitute infringement of the ’310 patent. Upon information and

 belief, Defendants each intend to cause, and have taken affirmative steps to induce, infringement

 by importers, online stores, distribution partners, retailers, reseller partners, solution partners,

 consumers, and other related service providers by at least, inter alia, creating advertisements that

 promote the infringing use of the Accused Products, creating and/or maintaining established

 distribution channels for the Accused Products into and within the United States, manufacturing

 the Accused Products in conformity with U.S. laws and regulations, distributing or making

 available instructions or manuals for these products to purchasers and prospective buyers, testing

 wireless networking features in the Accused Products, and/or providing technical support,

 replacement parts, or services for these products to purchasers in the United States. See, e.g.,

 Download Center, TP-LINK, https://www.tp-link.com/us/support/download/ (providing consumers

 access to “firmware, drivers, user guide, utility or any other download resources” for TP-Link

 Products). Furthermore, TP-Link markets its mesh network devices and its application software as

 “compatible with a whole range of IoT devices, from smart bulbs and plugs to sensors and

 thermostats” that function within the same networks as the TP-Link Products and “can be

 controlled via the Deco app with no additional hub required.” See Deco M9 Plus Smart Home

 Device Compatible List,       TP-LINK,   https://www.tp-link.com/us/Deco-M9-Plus/compatibility/

 (listing smart devices, such as smart bulbs, switches, plugs, sensors, outlets, an door locks from

 third-party manufacturers, such as Philips, Cree, GE, Samsung, and Kwikset). Such compatibility


 PLAINTIFF’S ORIGINAL COMPLAINT FOR
 PATENT INFRINGEMENT                              32
Case 2:22-cv-07541-GW-MRW Document 1 Filed 02/08/21 Page 33 of 40 Page ID #:33




 provides convenience and added functionality that induces consumers to use TP-Link Products,

 including mesh networking devices and thus further infringe the ’310 patent.

        77.    Upon information and belief, despite having knowledge of the ’310 patent and

 knowledge that it is directly and/or indirectly infringing one or more claims of the ’310 patent, TP-

 Link has nevertheless continued its infringing conduct and disregarded an objectively high

 likelihood of infringement. Each of Defendants infringing activities relative to the ’310 patent have

 been, and continue to be, willful, wanton, malicious, in bad-faith, deliberate, consciously wrongful,

 flagrant, characteristic of a pirate, and an egregious case of misconduct beyond typical

 infringement such that Plaintiff is entitled under 35 U.S.C. § 284 to enhanced damages up to three

 times the amount found or assessed.

        78.    Plaintiff Stingray has been damaged as a result of TP-Link’s infringing conduct

 described in this Count. Each Defendant is thus liable to Stingray in an amount that adequately

 compensates Stingray for TP-Link’s infringements, which, by law, cannot be less than a reasonable

 royalty, together with interest and costs as fixed by this Court under 35 U.S.C. § 284.

                                             COUNT III

                      (INFRINGEMENT OF U.S. PATENT NO. 7,027,426)

        79.    Plaintiff incorporates paragraphs 1 through 78 herein by reference.

        80.    Plaintiff is the assignee of the ’426 patent, entitled “Multi-channel Mobile Ad Hoc

 Network,” with ownership of all substantial rights in the ’426 patent, including the right to

 exclude others and to enforce, sue, and recover damages for past and future infringements.

        81.    The ’426 patent is valid, enforceable, and was duly issued in full compliance with

 Title 35 of the United States Code. The ’426 patent issued from U.S. Patent Application No.

 10/212,594.

 PLAINTIFF’S ORIGINAL COMPLAINT FOR
 PATENT INFRINGEMENT                              33
Case 2:22-cv-07541-GW-MRW Document 1 Filed 02/08/21 Page 34 of 40 Page ID #:34




        82.   TP-Link has and continues to directly and/or indirectly infringe (by inducing

 infringement) one or more claims of the ’426 patent in this judicial district and elsewhere in Texas

 and the United States.

        83.   Upon information and belief, TP-Link designs, develops, manufactures, imports,

 distributes, offers to sell, sells, and uses the Accused Products, including via the activities of TP-

 Link Tech. and its subsidiaries or related entities, such as Defendant TP-Link Corp., Defendant

 TP-Link Intl and TP-Link USA.

        84.   Defendants TP-Link Tech., TP-Link Corp., and TP-Link Intl (i.e., “TP-Link”) each

 directly infringe the ’426 patent via 35 U.S.C. § 271(a) by making, offering for sale, selling, and/or

 importing the Accused Products, their components, and/or products containing the same that

 incorporate the fundamental technologies covered by the ’426 patent to, for example, its alter egos,

 agents, intermediaries, related entities, distributors, importers, customers, subsidiaries, and/or

 consumers. Furthermore, upon information and belief, Defendants make and sell the Accused

 Products outside of the United States, deliver those products to related entities, subsidiaries, online

 stores, distribution partners, retailers, reseller partners, solution partners, customers and other

 related service providers in the United States, or in the case that it delivers the Accused Products

 outside of the United States it does so intending and/or knowing that those products are destined

 for the United States and/or designing those products for sale and use in the United States, thereby

 directly infringing the ’426 patent. See, e.g., Lake Cherokee Hard Drive Techs., L.L.C. v. Marvell

 Semiconductor, Inc., 964 F. Supp. 2d 653, 658 (E.D. Tex. 2013) (denying summary judgment and

 allowing presentation to jury as to “whether accused products manufactured and delivered abroad

 but imported into the United States market by downstream customers … constitute an infringing

 sale under § 271(a)”).


 PLAINTIFF’S ORIGINAL COMPLAINT FOR
 PATENT INFRINGEMENT                               34
Case 2:22-cv-07541-GW-MRW Document 1 Filed 02/08/21 Page 35 of 40 Page ID #:35




         85.   Furthermore, Defendant TP-Link Tech. directly infringes the ’426 patent through

 its direct involvement in the activities of its subsidiaries and related entities, including Defendants

 TP-Link Corp., Defendant TP-Link Intl, and TP-Link USA., including by selling and offering for

 sale the Accused Products directly to its related entities and importing the Accused Products into

 the United States for its related entities. Upon information and belief, TP-Link USA conducts

 activities that constitutes direct infringement of the ’426 patent under 35 U.S.C. § 271(a) by

 importing, offering for sale, selling, and/or using those Accused Products in the U.S. on behalf

 of and for the benefit of Defendants. TP-Link Tech. is vicariously liable for the infringing conduct

 of Defendants TP-Link Corp., Defendant TP-Link Intl, and TP-Link USA and other subsidiaries

 (under both the alter ego and agency theories) because, as an example and on information and

 belief, Defendants TP-Link Tech., TP-Link Corp., Defendant TP-Link Intl, and TP-Link USA

 are essentially the same company, and TP-Link Tech. along with its related entities have the right

 and ability to control the infringing activities of Defendant TP-Link Corp., Defendant TP-Link

 Intl, and TP-Link USA and TP-Link Tech. receives a direct financial benefit from that

 infringement.

         86.   For example, TP-Link infringes claim 8 of the ’426 patent via the Accused Products

 such as Deco Whole Home Mesh Wi-Fi, Home and Business Wi-Fi Routers, Cable Routers,

 Gaming Routers, Network Expanders, Network Switches, Adapters, Kasa Security Cameras,

 Kasa Smart Plugs, Kasa Smart Lighting, Kasa Smart Switches, Omada (a TP-Link brand) access

 points, desktop access points, power line products, and related accessories and software, which

 utilize the ZigBee protocol.

         87.   The Accused Products that utilize a ZigBee protocol implement the “method for

 operating a mobile ad hoc network comprising a plurality of wireless mobile nodes and a plurality


 PLAINTIFF’S ORIGINAL COMPLAINT FOR
 PATENT INFRINGEMENT                                35
Case 2:22-cv-07541-GW-MRW Document 1 Filed 02/08/21 Page 36 of 40 Page ID #:36




 of wireless communication links connecting the plurality of nodes together over a plurality of

 electrically separate wireless channels” of claim 8. ZigBee protocols are based on the IEEE

 802.15.4 standard and involve communication between two or more devices on a wireless

 channel. See THE ZIGBEE ALLIANCE, supra.

        88.   The Accused Products, at a source node, send a route request over each of the

 plurality of electrically separate channels to discover routing to a destination node. For example,

 by utilizing ZigBee protocols, the Accused Products use route request commands, route request

 identifiers, and route reply commands to discover routing to the destination node.

        89.   The Accused Products, at the source node, select a route to the destination node on

 at least one of the plurality of electrically separate channels. For example, by utilizing ZigBee

 protocols, the Accused Products select a route for relayed messages to a destination device by

 choosing a route with the lowest path cost among multiple routes (i.e., a plurality of electrically

 separate channels).

        90.   The technology discussion above and the exemplary Accused Products provide

 context for Plaintiff’s infringement allegations.

        91.   At a minimum, TP-Link has known of the ’426 patent at least as early as the filing

 date of this complaint. In addition, TP-Link has known about the ’426 patent since at least July 16,

 2020, when TP-Link received a letter regarding infringement of Stingray’s patent portfolio, which

 includes the ’426 patent and is related to mesh networking used in wireless control of home

 automation devices. The letter specifically referenced the infringing use of Stingray’s patented

 technologies by TP-Links’ Z-Wave and ZigBee compatible smart home automation products,

 including routers, smart lights, smart plugs, and smart outlets.




 PLAINTIFF’S ORIGINAL COMPLAINT FOR
 PATENT INFRINGEMENT                                 36
Case 2:22-cv-07541-GW-MRW Document 1 Filed 02/08/21 Page 37 of 40 Page ID #:37




        92.   Upon information and belief, since at least the above-mentioned date when TP-Link

 was on notice of its infringement, Defendants have each actively induced, under U.S.C. § 271(b),

 importers, online stores, distribution partners, retailers, reseller partners, solution partners,

 consumers, and other related service providers that import, distribute, purchase, offer for sale, sell,

 or use the Accused Products that include or are made using all of the limitations of one or more

 claims of the ’426 patent to directly infringe one or more claims of the ’426 patent by using,

 offering for sale, selling, and/or importing the Accused Products. Since at least the notice provided

 on the above-mentioned date, Defendants each do so with knowledge, or with willful blindness of

 the fact, that the induced acts constitute infringement of the ’426 patent. Upon information and

 belief, Defendants each intend to cause, and have taken affirmative steps to induce, infringement

 by importers, online stores, distribution partners, retailers, reseller partners, solution partners,

 consumers, and other related service providers by at least, inter alia, creating advertisements that

 promote the infringing use of the Accused Products, creating and/or maintaining established

 distribution channels for the Accused Products into and within the United States, manufacturing

 the Accused Products in conformity with U.S. laws and regulations, distributing or making

 available instructions or manuals for these products to purchasers and prospective buyers, testing

 wireless networking features in the Accused Products, and/or providing technical support,

 replacement parts, or services for these products to purchasers in the United States. See, e.g.,

 Download Center, TP-LINK, https://www.tp-link.com/us/support/download/ (providing consumers

 access to “firmware, drivers, user guide, utility or any other download resources” for TP-Link

 Products). Furthermore, TP-Link markets its mesh network devices and its application software as

 “compatible with a whole range of IoT devices, from smart bulbs and plugs to sensors and

 thermostats” that function within the same networks as the TP-Link Products and “can be


 PLAINTIFF’S ORIGINAL COMPLAINT FOR
 PATENT INFRINGEMENT                               37
Case 2:22-cv-07541-GW-MRW Document 1 Filed 02/08/21 Page 38 of 40 Page ID #:38




 controlled via the Deco app with no additional hub required.” See Deco M9 Plus Smart Home

 Device Compatible List,       TP-LINK,   https://www.tp-link.com/us/Deco-M9-Plus/compatibility/

 (listing smart devices, such as smart bulbs, switches, plugs, sensors, outlets, an door locks from

 third-party manufacturers, such as Philips, Cree, GE, Samsung, and Kwikset). Such compatibility

 provides convenience and added functionality that induces consumers to use TP-Link Products,

 including mesh networking devices utilizing ZigBee and/or WiFi protocols and thus further

 infringe the ’426 patent.

        93.   Upon information and belief, despite having knowledge of the ’426 patent and

 knowledge that it is directly and/or indirectly infringing one or more claims of the ’426 patent, TP-

 Link has nevertheless continued its infringing conduct and disregarded an objectively high

 likelihood of infringement. Each of Defendants infringing activities relative to the ’426 patent have

 been, and continue to be, willful, wanton, malicious, in bad-faith, deliberate, consciously wrongful,

 flagrant, characteristic of a pirate, and an egregious case of misconduct beyond typical

 infringement such that Plaintiff is entitled under 35 U.S.C. § 284 to enhanced damages up to three

 times the amount found or assessed.

        94.   Plaintiff Stingray has been damaged as a result of TP-Link’s infringing conduct

 described in this Count. Each Defendant is thus liable to Stingray in an amount that adequately

 compensates Stingray for TP-Link’s infringements, which, by law, cannot be less than a reasonable

 royalty, together with interest and costs as fixed by this Court under 35 U.S.C. § 284.

                                          CONCLUSION

        95.   Plaintiff is entitled to recover from Defendants the damages sustained by Plaintiff

 as a result of Defendants’ wrongful acts in an amount subject to proof at trial, which, by law,

 cannot be less than a reasonable royalty, together with interest and costs as fixed by this Court.


 PLAINTIFF’S ORIGINAL COMPLAINT FOR
 PATENT INFRINGEMENT                              38
Case 2:22-cv-07541-GW-MRW Document 1 Filed 02/08/21 Page 39 of 40 Page ID #:39




        96.   Plaintiff has incurred and will incur attorneys’ fees, costs, and expenses in the

 prosecution of this action. The circumstances of this dispute may give rise to an exceptional case

 within the meaning of 35 U.S.C. § 285, and Plaintiff is entitled to recover its reasonable and

 necessary attorneys’ fees, costs, and expenses.

                                          JURY DEMAND

        97.   Plaintiff hereby requests a trial by jury pursuant to Rule 38 of the Federal Rules

 of Civil Procedure.

                                      PRAYER FOR RELIEF

        98.   Plaintiff requests that the Court find in its favor and against Defendants, and that

 the Court grant Plaintiff the following relief:

         1. A judgment that Defendants have infringed the Asserted Patents as alleged herein,

              directly and/or indirectly by way of inducing infringement of such patents;

         2. A judgment for an accounting of damages sustained by Plaintiff as a result of the acts

              of infringement by Defendants;

         3. A judgment and order requiring Defendants to pay Plaintiff damages under 35 U.S.C.

              § 284, including up to treble damages as provided by 35 U.S.C. § 284, and any

              royalties determined to be appropriate;

         4. A judgment and order requiring Defendants to pay Plaintiff pre-judgment and post-

              judgment interest on the damages awarded;

         5. A judgment and order finding this to be an exceptional case and requiring Defendants

              to pay the costs of this action (including all disbursements) and attorneys’ fees as

              provided by 35 U.S.C. § 285; and

         6. Such other and further relief as the Court deems just and equitable.

 PLAINTIFF’S ORIGINAL COMPLAINT FOR
 PATENT INFRINGEMENT                               39
Case 2:22-cv-07541-GW-MRW Document 1 Filed 02/08/21 Page 40 of 40 Page ID #:40




 Dated: February 8, 2021                   Respectfully submitted,

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 PLAINTIFF’S ORIGINAL COMPLAINT FOR
 PATENT INFRINGEMENT                  40
